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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA               *

             vs.                       *   CRIMINAL NO. MJG-11-0428
                                              (Civil No. 15-3471)
IDA MAE WEATHERS                       *

*       *           *        *         *         *          *         *        *

                   MEMORANDUM AND ORDER RE: CJA FUNDING

     The Court has before it the motion filed by Defendant Ida

Mae Weathers ("Weathers")entitled "Unopposed" Motion for CJA

Funding to Permit Defense Counsel to Obtain a Psychological

Evaluation of Petitioner [ECF No. 425].           The said motion is,

however, opposed and the Court has considered the materials

submitted relating thereto.         The Court finds that a hearing is

unnecessary.

     Weathers has filed a Motion to Vacate or Correct Sentence

[ECF No. 422].      She states therein:

                  Petitioner’s motion is based on
            ineffective assistance of counsel, and in
            particular trial counsel’s failure to
            investigate and present to the Court
            mitigating evidence at sentencing. Ida Mae
            Weathers was a non-violent, serial purse
            snatcher who, as a homeless teenager, stole to
            survive. Her crimes, fueled by drug addiction,
            mental illness and a seemingly endless cycle
            of physical abuse, continued throughout her
            adult life, as she managed to go in and out of
            prison without any real rehabilitation.
            Without hearing anything about her tragic life
            story, the Court sentenced Weathers to almost
            twenty-two years in prison.

Id. at 1.
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     By the instant motion, Weathers seeks to have the

Government transport her to Baltimore from her place of

incarceration, USP Hazelton in West Virginia, for testing by a

psychologist who has agreed to cap her fee at $2,400.1             The

Government opposes the motion, noting that Weathers is

represented by retained counsel and asserting that the testing –

if found necessary – should be done at a later stage of the

proceeding.

     The Court will assume that Weathers, while able to pay

counsel, does not have the financial resources to pay for

psychological testing.       Therefore, the Court will provide her

payment for necessary testing to the same extent as it would a

party represented by appointed counsel or proceeding pro se.

However, the Court agrees with the Government that the request

for funding is premature.

     The gravamen of Weathers' contention is that her counsel

failed to investigate her past. Had he done so, Weathers

contends, "it would have been apparent that Weathers was

probably suffering from some type of mental illness or disorder"

and that "if this evidence had been developed and presented to

the Court, it is possible that the Court would have sentenced

her to less than 259 months." Mot. at ¶ 4, ECF No. 425 (emphasis

added).


1    The CJA funding cap, which is now at $2,500.
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     The testing is not necessary to resolve the issue of

whether a competent investigation of her past would have made it

apparent to a reasonably competent attorney that Weathers was

probably suffering from some type of mental illness or disorder.

Weathers' counsel (and the sentencing Judge) was at least aware

– as noted in the Presentence Report – that she had been abused

while a child.    Moreover, counsel (and the sentencing judge)

was aware of her criminal record.      Whether counsel knew more, or

should have known more, and what more he would have learned and

presented at sentencing remains to be seen.         There are

questions, for example, as to what Weathers told her counsel

about her past, what, if anything, did she hide from him, what,

if anything, should he have asked that he did not ask, etc.

     A showing that a lower sentence was possible, had counsel

presented more regarding Weathers' background, would not suffice

to establish an ineffective assistance of counsel claim.             In

order to prevail on a claim that counsel's representation

violated her Sixth Amendment right to effective assistance of

counsel, Weathers must show (1) "that counsel's representation

fell below an objective standard of reasonableness," and (2)

"that there is a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have

been different."   Strickland v. Washington, 466 U.S. 668, 687-

88, 694 (1984).    "A reasonable probability is a probability

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sufficient to undermine confidence in the outcome [of the

proceedings]."   Id. at 694.

     The Court can assume, prior to the test at issue being

done, that the test would establish that, at the time of

sentencing, Weathers was – or had been – suffering from a mental

illness or disorder.    The test would not be necessary unless, on

this assumption, there would be a reasonable probability that

her sentence would have been less than imposed.          This

determination cannot now be made without hearing from both sides

of the case.   Weathers is not contending that she had a valid

insanity defense.   Thus, the issue to be resolved is whether a

presentation at sentencing of a mental illness or disorder – not

the basis for an insanity defense – would reasonably probably

result in a lesser sentence than imposed.

     If, and when, the Court determines that Weathers has made a

showing adequate to demonstrate that the psychological test is

necessary, it shall consider providing appropriate CJA funding.

     Accordingly:

          1.     The "Unopposed" Motion for CJA Funding to Permit
                 Defense Counsel to Obtain a Psychological
                 Evaluation of Petitioner [ECF No. 425] is DENIED.




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      2.    This action is without prejudice to renewal of
            the motion at a later stage of the proceeding.


SO ORDERED, on Wednesday, February 3, 2016.



                                              /s/__________
                                        Marvin J. Garbis
                                   United States District Judge




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